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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                               :
UNITED STATES OF AMERICA                       :       Case No.: 21-CR-93 (RC)
                                               :
          v.                                   :       18 U.S.C. §§ 1512(c)(2) and 2
                                               :
JOHN D. ANDRIES,                               :
                                               :
          Defendant.                           :
                                               :

                                  STATEMENT OF OFFENSE

          Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,

the United States Attorney for the District of Columbia, and the defendant, JOHN D. ANDRIES,

with the concurrence of his attorney, agree and stipulate to the below factual basis for the

defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the

United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

          1.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol.

          2.      On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public.

          3.      On January 6, 2021, a joint session of the United States Congress convened at the

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the Capitol to certify the vote count of the Electoral College of the 2020

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Presidential Election, which had taken place on Tuesday, November 3, 2020. The joint session

began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and

Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike

Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        4.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

Temporary and permanent barricades, as noted above, were in place around the exterior of the

Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        5.      At approximately 2:00 PM, certain individuals in the crowd forced their way

through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks as required by USCP officers or other authorized security

officials.

        6.      At such time, the certification proceedings were still underway, and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after

2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of law enforcement, as others in the crowd encouraged and assisted

those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more

than $2.7 million dollars for repairs.




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       7.       Shortly thereafter, at approximately 2:20 PM, members of the House of

Representatives and of the Senate, including the President of the Senate, Vice President Pence,

were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United

States Congress, including the joint session, were effectively suspended until shortly after 8:00

PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to

the Capitol—including the danger posed by individuals who had entered the Capitol without any

security screening or weapons check—Congressional proceedings could not resume until after

every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

had been secured. Vice President Pence remained in the Capitol from the time he was evacuated

from the Senate Chamber until the session resumed.


                    Andries’s Participation in the January 6, 2021, Capitol Riot

       8.       The defendant, John D. Andries, lives in Maryland. On January 6, 2021, the

defendant travelled to Washington, D.C., to attend the rally at the Ellipse for then-President Trump.

       9.       On January 6, the defendant entered the U.S. Capitol Building through a broken

window near the Senate Wing Door at approximately 2:15 pm, just two minutes after rioters’ initial

breach of the Capitol at that location. Once he was inside the building, the defendant proceeded to

the Crypt and was among a crowd that attempted to push past U.S. Capitol Police officers. The

defendant walked up to USCP officers several times and got within inches of them. Eventually,

the defendant and other rioters were able to surge forward past the police and further into the

Capitol building.

       10.      The defendant went through the Crypt and up the stairs to the second floor. He

crossed through Statuary Hall and made his way to the House of Representatives Chamber. He


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went around the Chamber to the area near the Speaker’s Lobby. There, the defendant filmed

himself and talked to the camera. In the video, the defendant stated, inter alia:

       •        “We’re in the U.S. Capitol.” (00:07)

       •        “Hey y’all think they hear us now?” (00:15)

       •        “Stop the steal.” (00:50)

       •        “Knock-knock motherfuckers.” (1:03)

       •        “Think they’re scared yet.” (1:36)

       •        “I think the police have gotten the message, we ain’t back’n down.” (1:46)

       11.      Following the shooting of a rioter, the defendant left the Speaker’s Lobby area and

was about to exit the Capitol through the Upper House Door at 2:56 pm when he saw another rioter

involved in a scuffle with a police officer. The defendant briefly pushed past a police officer to

the rioter and then exited the Capitol.

       12.      On the portico outside, the defendant filmed himself again and, in the video, stated,

“We made it to the speaker’s chambers . . . I think we’re on the right side of history.” He also

said, “Sounds like they’re on the way out, I don’t know if it was me or somebody else, but I know

I tried to pull the fire alarm. I wasn’t sure if I was successful, but I know somebody did it this time

for sure. I hear it (audible beeping in the background).”

       13.      At approximately 4:25 pm, officers attempted to move the crowd away from the

Capitol, however, the defendant pushed against the officers trying to get the crowd to move and

then sat down on a ledge and refused to move. Officers were forced to physically drag the

defendant away from the Capitol building.




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                                    Elements of the Offense

       14.      John D. Andries knowingly and voluntarily admits to all the elements of

Obstruction of an Official Proceeding. Specifically, defendant willfully and knowingly entered the

U.S. Capitol Building knowing that he did not have permission to do so. Defendant further admits

that while inside the Capitol, he corruptly obstructed, influenced, and impeded an official

proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the

Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United

States and 3 U.S.C. §§ 15-18.



                                             Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052


                                             By:
                                                    Douglas G. Collyer
                                                    Assistant United States Attorney
                                                    D.C. Bar No. 519096




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                        DEFENDANT'S ACKNOWLEDGMENT
        I, John D. Andries, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.



Date
                                      John D. Andries
                                    Defendant


                         ATTORNEY'S ACKNOWLEDGMENT

       I have read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Offense as true and accurate.




Date:    8-16-2022
                                      Maria Jacob, Esq.
                                      Attorney for Defendant




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